                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

In re:                                                     Case No. 13-53846

CITY OF DETROIT, MICHIGAN                                  In Proceedings Under
                                                           Chapter 9
               Debtor.
                                                           Hon. Steven W. Rhodes
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                                       EXHIBITS1

Exhibit 1             Detroit City Code § 18-5-120 et. seq.

Exhibit 2             GRS Articles of Incorporation

Exhibit 3             PFRS Articles of Incorporation

Exhibit 4             GRS Service Contract 2006

Exhibit 5             PFRS Service Contract 2006

Exhibit 6             Offering Circular for 2006 COPs

Exhibit 7             City of Detroit 2012 Comprehensive Annual Fiscal Report

Exhibit 8             Detroit City Code § 18-16-1 et. seq.




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  Certain exhibits attached to the Objection bear a confidentiality stamp as a result
of having been downloaded from a data room set up by the City. However, all
exhibits are publicly available and therefore raise no confidentiality concerns. The
City has consented in writing to the filing of the exhibits bearing the confidentiality
stamp.

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